                    Case 16-12828            Doc 1       Filed 07/25/16 Entered 07/25/16 10:59:35                              Desc Main
                                                           Document     Page 1 of 73

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Epirus Biopharmaceuticals, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  699 Boylston Street
                                  Eighth Floor
                                  Boston, MA 02116
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Suffolk                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       epirusbiopharma.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Epirus Biopharmaceuticals, Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6215


8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Epirus Biopharmaceuticals, Inc.                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Epirus Biopharmaceuticals, Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 25, 2016
                                                  MM / DD / YYYY


                             X   /s/ Robert Ticktin                                                       Robert Ticktin
                                 Signature of authorized representative of debtor                         Printed name

                                         SVP, General Counsel & Corporate
                                 Title   Secretary




18. Signature of attorney    X   /s/ Daniel S. Bleck                                                       Date July 25, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Daniel S. Bleck
                                 Printed name

                                 Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
                                 Firm name

                                 One Financial Center
                                 38th Floor
                                 Boston, MA 02111
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     617-348-4498                  Email address      dbleck@mintz.com

                                 560328 MA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         X        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         X        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         X        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         X        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         X        Schedule H: Codebtors (Official Form 206H)
         X        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 25, 2016                           X /s/ Robert Ticktin
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert Ticktin
                                                                       Printed name

                                                                       SVP, General Counsel & Corporate Secretary
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name            Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           672,004.17

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           672,004.17


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,695,823.36


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,663,388.27


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,359,211.63




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                  Case 16-12828                   Doc 1          Filed 07/25/16 Entered 07/25/16 10:59:35                       Desc Main
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 Fill in this information to identify the case:

 Debtor name         Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America Full Business Chkg                      Checking Account                -995                                    $79,273.10



                    Bank of America Block Pending
           3.2.     Depository AC # -9019                                                                                                                    $0.00



                    Bank of America Full Business Chkg
           3.3.     Depository AC # -4767                                                                                                                    $0.00



                    Bank of America Money Market
           3.4.     Collateral A/C # -9087                                                                                                                   $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $79,273.10
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor           Epirus Biopharmaceuticals, Inc.                                            Case number (If known)
                  Name

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Security deposit re: CPT ONE EXETER PLAZA, LLC Lease dated March, 2013, as
           7.1.     Amended.                                                                                                              $41,702.42



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid General Commercial Liability Insurance                                                                        $21,498.17



                    Prepaid Dues with ZenQMS, Definitive Healthcare, Mass Biotech Counsel - Dues, and
           8.2.     Nasdaq                                                                                                                $32,798.72




           8.3.     Prepaid Service Contracts with E-Trade, Computershare , RSM and IPREO                                                 $28,722.36




           8.4.     Prepaid Adaptive Software 2016 12 mo. Subscription                                                                      $9,685.00




           8.5.     Prepaid Consumables Fuji Manufacturing                                                                               $435,000.00




           8.6.     Wind Down Funds held by Verdolino & Lowey P.C.                                                                        $23,324.40




 9.        Total of Part 2.                                                                                                          $592,731.07
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used      Current value of
                                                                                                     for current value          debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                Name

           Name of entity:                                                          % of ownership
                     Epirus Pharmaceuticals (Switzerland)
                     GmbH, subsidiary with a principal place of
                     business at General Guisan- Strasse 6, 6303,
           15.1.     Zug Switzerland                                                100        %                                   Unknown


                     Epirus Biopharmaceuticals Ltd., UK Corp.
                     subsidiary with a principal place of business
                     at 11 Old Jewry, 7th Floor, London EC2R
           15.2.     8DU                                                            100        %                                   Unknown


                     Epirus Brasil Tecnologia Ltda, Brazil Corp.
                     subsidiary with a principal place of business
                     at Avenida Bernardino de Campos, 98 - 6
           15.3.     Andar Para so, S o Paulo 04004-040 BR                          100        %                                   Unknown


                     EBSub, Inc. subsidiary with a principal place
                     of business at 699 Boylston Street 8th Floor,
           15.4.     Boston, MA 02116                                               100        %                                   Unknown


                     Minority share interest in Cluster40
                     Therapeutics B.V., Yalelaan 46 3584 CM,
           15.5.     Utrecht, NETHERLANDS                                           10         %                                   Unknown


                     Minority share interest in Cluster152
                     Therapeutics B.V., Yalelaan 46 3584 CM,
           15.6.     Utrecht, NETHERLANDS                                           10         %                                   Unknown


                     Minority share interest in Cluster270
                     Therapeutics B.V., Yalelaan 46 3584 CM,
           15.7.     Utrecht, NETHERLANDS                                           5          %                                   Unknown


                     Minority share interest in Cluster279
                     Therapeutics B.V., Yalelaan 46 3584 CM,
           15.8.     Utrecht, NETHERLANDS                                           10         %                                   Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                         $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 3
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 Debtor         Epirus Biopharmaceuticals, Inc.                                               Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Net book value of Computer Equipment                                     $103,263.11      Recent cost                           Unknown


            Net book value of Furniture & Fixtures                                   $101,662.35      Recent cost                           Unknown



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                     $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
                No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Epirus Biopharmaceuticals, Inc.                                              Case number (If known)
                Name

 60.        Patents, copyrights, trademarks, and trade secrets
            "EPIRUS Biopharmaceuticals". "in Market, For
            Market", "SCALE", and "Infimab" registered
            trademarks                                                                 Unknown                                          Unknown



 61.        Internet domain names and websites
            Epirus.com domain name                                                          $0.00                                       Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Net book value of Intangible R&D Asset                                 $2,151,359.00                                        Unknown



 65.        Goodwill
            Goodwill                                                              $15,626,274.00                                        Unknown



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            U.S. federal net operating loss carryforwards of
            approximately $38.8 million, which may be available to
            offset future income tax liabilities and expire at various
            dates through 2035.                                                                Tax year 2015                            Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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                Name

           U.S. federal net operating loss carryforwards of
           approximately $31.0 million, which may be available to
           offset future income tax liabilities and expire at various
           dates through 2035.                                                                 Tax year 2014                      Unknown


           State net operating loss carryforwards of approximately
           $27.6 million and $21.3 million, respectively, which may
           be available to offset future income tax liabilities and
           expire at various dates through 2035.                                               Tax year 2015                      Unknown


           State net operating loss carryforwards of approximately
           $21.3 million, which may be available to offset future
           income tax liabilities and expire at various dates
           through 2035.                                                                       Tax year 2014                      Unknown


           Foreign net operating loss carryforwards of
           approximately $82 million, which may be available to
           offset future income tax liabilities.                                               Tax year 2015                      Unknown


           Foreign net operating loss carryforwards of
           approximately $145 million, which may be available to
           offset future income tax liabilities.                                               Tax year 2014                      Unknown



 73.       Interests in insurance policies or annuities
           Commercial Package Federal Insurance Company
           36019217 06/14/2016 to 06/14/2017                                                                                      Unknown


           Product Liability
           Includes Clinical Trial Liability Gemini Insurance
           Company GL126272 06/14/2015 to 07/11/2016                                                                              Unknown


           Workers Compensation Chubb Group 71744887
           06/14/2016 to 06/14/2017                                                                                               Unknown


           International Package Chubb Group 99492309
           06/14/2016 to 06/14/2017                                                                                               Unknown


           Comm. Umbrella Excess Federal Insurance Company
           79890076 06/14/2016 to 06/14/2017                                                                                      Unknown


           Public Co. D & O Liability - MASTER U.S. Specialty
           Insurance Company 14-MGU-15-A35309 07/15/2015 to
           07/29/2016                                                                                                             Unknown


           Public Co. D & O Liability XL Specialty Insurance
           Company ELU140059-15 07/15/2015 to 07/29/2016                                                                          Unknown


           Public Co. D & O Liability National Union Fire Ins. Co.
           01-546-64-76 07/15/2015 to 07/29/2016                                                                                  Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 6
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 Debtor         Epirus Biopharmaceuticals, Inc.                                              Case number (If known)
                Name

           Public Co. D & O Liability Berkley Insurance Co.
           #18015351 07/15/2015 to 07/29/2016                                                                                     Unknown


           EPL and Fiduciary Liability Federal Insurance Company
           82410241 07/15/2015 to 07/15/2016                                                                                      Unknown


           Public Co. D & O Liability - Local Swiss U.S. Specialty
           Insurance Company 14G140520000 07/15/2015 to
           07/29/2016                                                                                                             Unknown


           "Supply Chain" - Worldwide Transportation,
           Property at Other Premises, Worldwide Terrorism
           Underwriters Lloyds MC3965WC3965
           (Falvey Cargo) 02/22/2016 to 06/14/2016                                                                                Unknown


           Commercial Property -NETHERLANDS Chubb Europe
           28324767 11/20/2015 to 07/01/2016                                                                                      Unknown


           General Liability - NETHERLANDS Chubb Europe
           28324768 11/20/2015 to 07/01/2016                                                                                      Unknown


           Commercial Property - SWITZERLAND Chubb Europe
           33220500 11/20/2015 to 07/15/2016                                                                                      Unknown


           General Liability - SWITZERLAND Chubb Europe
           36029986 11/20/2015 to 07/15/2016                                                                                      Unknown


           Clinical Trials Liability -
           ARGENTINA Allianz Argentina
           16007746428 2/1/2016 to 10/31/2018                                                                                     Unknown


           Clinical Trials Liability
           CHILE BCI Segueros Generales
           7668 2/1/2016 to 10/31/2018                                                                                            Unknown


           Clinical Trials Liability -
           COLOMBIA Allianz Colsegueros
           21898140 2/1/2016 to 10/31/2018                                                                                        Unknown


           Clinical Trials Liability -
           GEORGIA Georgian Pension & Insurance
           CTR13916 2/1/2016 to 10/31/2018                                                                                        Unknown


           Clinical Trials Liability -
           GUATEMALA Suegeros G&T SA
            RCGF-850 2/1/2016 to 10/31/2018                                                                                       Unknown


           Clinical Trials Liability -
           ISRAEL HAREL
           661700091516 2/1/2016 to 10/31/2018                                                                                    Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 7
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 Debtor         Epirus Biopharmaceuticals, Inc.                                              Case number (If known)
                Name



           Clinical Trials Liability -
           PERU Rimac International
           1201529567 2/1/2016 to 10/31/2018                                                                                      Unknown


           Clinical Trials Liability -
           MEXICO Allianz Mexico
            RCID/00001098 2/1/2016 to 10/31/2018                                                                                  Unknown


           Clinical Trials Liability -
           South Africa Allianz
           ZAL000290160 3/1/2016 to 10/31/2018                                                                                    Unknown


           Clinical Trials Liability -
           AUSTRALIA Allianz 990005803 LCP 5/1/2016 to 12/1/16                                                                    Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Taro Pharmaceuticals Inc. $5,000,000 non-interest
           bearing, limited recourse promissory note with a
           maturity date of July 1, 2017 re Sale Purchase
           Agreement dated October 1, 2015 subject to
           adjustments contained therein.                                                                                         Unknown
           Nature of claim           Limited Recourse Promissory
                                     Note
           Amount requested                      $5,000,000.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Intercompany receivable balance due from Epirus
           Pharmaceuticals (Switzerland) GmbH with a book value
           of $6,408,235.00                                                                                                       Unknown




 78.       Total of Part 11.                                                                                                         $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 8
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 Debtor          Epirus Biopharmaceuticals, Inc.                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $79,273.10

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $592,731.07

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $672,004.17           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $672,004.17




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 9
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                 Case 16-12828                    Doc 1          Filed 07/25/16 Entered 07/25/16 10:59:35                               Desc Main
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 Fill in this information to identify the case:

 Debtor name         Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       CPT ONE EXETER PLAZA,
 2.1                                                                                                                           Unknown                 $41,702.42
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Leased office space containing
       c/o AEW Capital                                approximately 11,000 square feet on the 8th
       Management, L.P.                               floor of the building located at 699 Boylston
       Two Seaport Lane, World                        St., Boston MA 02116
       Trade Center Eas
       Attention: Asset Manager
       for CPT One Exe
       Boston, MA 02210
       Creditor's mailing address                     Describe the lien
                                                      Lease dated March, 2013, as Amended
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       CPTONEEX
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Hercules Technology
 2.2                                                  Describe debtor's property that is subject to a lien               $3,695,823.36                  Unknown
       Growth Capital, Inc.
       Creditor's Name                                All assets except Intellectual Property
       Legal Department Attn:
       Chief Legal Offic
       and Mr. Bryan Jadot
       400 Hamilton Avenue, Suite
       310
       Palo Alto, CA 94301
       Creditor's mailing address                     Describe the lien
                                                      Loan and Security Agreement dated Sept. 30,
                                                      2014
                                                      Is the creditor an insider or related party?
                                                         No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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                                                                  Document     Page 17 of 73
 Debtor       Epirus Biopharmaceuticals, Inc.                                                          Case number (if know)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/30/2014                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $3,695,823.3
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          6

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Cushman & Wakefield of MA, Inc.
        125 Summer Street                                                                                       Line   2.1
        Attn: Property Manager for CPT One Exete
        Boston, MA 02210

        Haim Zaltzman
        Latham & Watkins LLP                                                                                    Line   2.2
        505 Montgomery St.
        Suite 2000
        San Francisco, CA 94111-6538

        James Sperling, Esq.
        Rubin and Rudman LLP                                                                                    Line   2.1
        50 Rowes Wharf
        Boston, MA 02210




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
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                 Case 16-12828                    Doc 1          Filed 07/25/16 Entered 07/25/16 10:59:35                                 Desc Main
                                                                  Document     Page 18 of 73
 Fill in this information to identify the case:

 Debtor name         Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Belastingdienst Apeldoorn                                 Check all that apply.
           Laan van Westenenk 490                                       Contingent
           7334 DS                                                      Unliquidated
           Apeldoorn                                                    Disputed
           THE NETHERLANDS
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Blue Cross Blue Shield MA                                 Check all that apply.
           BOX 371318                                                   Contingent
           Pittsburgh, PA 15250-7318                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee Benefit Plan

           Last 4 digits of account number BCBSMA                    Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 16
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                 Case 16-12828                    Doc 1          Filed 07/25/16 Entered 07/25/16 10:59:35                              Desc Main
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 Debtor       Epirus Biopharmaceuticals, Inc.                                                                 Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Canada Revenue Agency                                      Check all that apply.
          Commissioner of Revenue                                       Contingent
          555 MacKenzie Avenue, 7th Floor                               Unliquidated
          Ottawa ON K1A 0L5                                             Disputed
          CANADA
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City of Boston                                             Check all that apply.
          Tax Collector                                                 Contingent
          1 City Hall Plaza                                             Unliquidated
          Boston, MA 02201                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Delaware Franchise Tax                                     Check all that apply.
          State of Delaware                                             Contingent
          Binghamton, NY 13902-5509                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          DELAWARE
                                                                        No
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Federal Revenue of Brazil                                  Check all that apply.
          R. Coronel Antonio Botelho de                                 Contingent
          Sousa 31                                                      Unliquidated
          Maranguape - CE 61940-005                                     Disputed
          BRAZIL
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 16
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 Debtor       Epirus Biopharmaceuticals, Inc.                                                                 Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          HM Revenue and Customs                                     Check all that apply.
          Benton Park View                                              Contingent
          Newcastle Upon Tyne                                           Unliquidated
          NE98 1ZZ                                                      Disputed
          UNITED KINGDOM
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Internal Revenue Service                                   Check all that apply.
          Special Procedures                                            Contingent
          P.O. Box 9112                                                 Unliquidated
          JFK Building - Stop 20800                                     Disputed
          Boston, MA 02203
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Massachusetts Division of                                  Check all that apply.
          Unemployment                                                  Contingent
          Assistance                                                    Unliquidated
          19 Staniford St.                                              Disputed
          5th Floor
          Boston, MA 02114-2589
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Massachusetts DOR                                          Check all that apply.
          Bankruptcy Unit                                               Contingent
          P.O. Box 9564                                                 Unliquidated
          Boston, MA 02114-9564                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 16
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 Debtor       Epirus Biopharmaceuticals, Inc.                                                                 Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          NY State Dept of Taxation &                                Check all that apply.
          Finance                                                       Contingent
          Bankruptcy Unit                                               Unliquidated
          P.O. Box 5300                                                 Disputed
          Albany, NY 12205-0300
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          NYC DEPARTMENT OF FINANCE                                  Check all that apply.
          P.O. BOX 5070                                                 Contingent
          KINGSTON, NY 12402-5070                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          NYS DEPT. OF LABOR - U.I.                                  Check all that apply.
          DIVISON                                                       Contingent
          W.A. HARRIMAN STATE CAMPUS                                    Unliquidated
          ALBANY, NY 12240-0415                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Swiss Federal Tax Administration                           Check all that apply.
          Eigerstrasse 65                                               Contingent
          3003 Berne                                                    Unliquidated
          SWITZERLAND                                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 16
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 Debtor        Epirus Biopharmaceuticals, Inc.                                                                Case number (if known)
               Name

 2.15       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown           Unknown
            Swiss Federal Tax Administration                         Check all that apply.
            Main Division Value Added Tax                               Contingent
            Schwarztorstrasse 50                                        Unliquidated
            3003 Berne                                                  Disputed
            SWITZERLAND
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.16       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown           Unknown
            Tax and Customs                                          Check all that apply.
            Administration/Limburg/D                                    Contingent
            Kloosterweg 22                                              Unliquidated
            PO Box 2865                                                 Disputed
            6401 DJ Heerlen
            THE NETHERLANDS
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.17       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown           Unknown
            Unum Life Insurance Co. of                               Check all that apply.
            America                                                     Contingent
            PO Box 406990                                               Unliquidated
            Atlanta, GA 30384-6990                                      Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Employee Benefit Plan

            Last 4 digits of account number UNUM                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                        Yes


 2.18       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown           Unknown
            VSP                                                      Check all that apply.
            P.O. Box 742479                                             Contingent
            Los Angeles, CA 90074-2479                                  Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Employee Benefit Plan

            Last 4 digits of account number VSP                      Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 16
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 Debtor       Epirus Biopharmaceuticals, Inc.                                                         Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $28.16
          AMERICAN GAS PRODUCT                                                  Contingent
          24 VINE STREET                                                        Unliquidated
          EVERETT, MA 02149                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold
          Last 4 digits of account number       AMERGAS
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $108.75
          ATLANTIC COFFEE                                                       Contingent
          267 LIBBEY PARKWAY                                                    Unliquidated
          WEYMOUTH, MA 02189                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       ATLANTIC
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $283,038.00
          Aurentz, Vincent                                                      Contingent
          1105 Pinehurst Dr                                                     Unliquidated
          Chapel Hill, NC 27517                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
          Last 4 digits of account number                                    Plan
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,289.25
          BAR & KARRER                                                          Contingent
          Brandschenkestrasse 90                                                Unliquidated
          8002 Z rich                                                           Disputed
          SWITZERLAND
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number       BARKARRE                     Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          BENEFIT STRATEGIES                                                    Contingent
          PO BOX 1660                                                           Unliquidated
          MANCHESTER, NH 03105-1660                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee Benefit Plan administrator fees
          Last 4 digits of account number       BENSTRAT
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $36,401.55
          BIOAGILYTIX LABS                                                      Contingent
          2300 ENGLERT DRIVE                                                    Unliquidated
          DURHAM, NC 27713                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       BIOAGILY
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $57,178.00
          Biologics Development Services, LLC
          c/o Susan Lundy                                                       Contingent
          5670 West Cypress Street                                              Unliquidated
          Suite D                                                               Disputed
          Tampa, FL 33607
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number       BDS                          Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $88.74
          Biotec Services International Ltd
          Biotec House, Central Park                                            Contingent
          Western Avenue, Bridgend Industrial Esta                              Unliquidated
          Bridgend, CF31 3RT                                                    Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number       BIOTEC                       Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32,147.50
          BTIG, LLC                                                             Contingent
          600 Montgomery St - 6th FL                                            Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    At-the-Market Sles Agreement dated February 29,
          Last 4 digits of account number       BTIG                         2016
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          BTIG, LLC                                                             Contingent
          825 Third Avenue                                                      Unliquidated
          6th Floor                                                             Disputed
          Attention: Chief Operating Officer
          New York, NY 10022                                                 Basis for the claim:    At-the-Market Sales Agreement dated February 29,
                                                                             2016
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          BTIG, LLC                                                             Contingent
          600 Montgomery St - 6th FL                                            Unliquidated
          Attention: General Counsel and Chief Com                              Disputed
          San Francisco, CA 94111
                                                                                           Additional Notice Party re At-the-Market Sales
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Agreement dated February 29, 2016
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $104.92
          CAMBRIDGE PRINTING CO, INC                                            Contingent
          47 7TH ST.                                                            Unliquidated
          CAMBRIDGE, MA 02141                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       CAMBPRINT
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Catalent Pharma Solutions, LLC                                        Contingent
          8137 Forsythia Street                                                 Unliquidated
          Attention: Vice President/General Manage                              Disputed
          Middleton, WI 53562
                                                                                           Moksha8 Pharmaceuticals, Inc. GPEx Cell Line Sales
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Agreement dated January 1, 2009
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          CEEK Enterprises                                                      Contingent
          98 Newport Street                                                     Unliquidated
          Arlington, MA 02476                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       CEEK
                                                                             Is the claim subject to offset?     No       Yes



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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $54,739.35
          CFGI Holdings, LLC                                                    Contingent
          PO Box 8000                                                           Unliquidated
          BUFFALO, NY 14267                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       CORPFING
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $90,544.04
          Charles River Biopharma GmbH
          Max-Planck-Str. 15A                                                   Contingent
          40699 Erkrath                                                         Unliquidated
          GERMANY                                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Services rendered
          Last 4 digits of account
          number CHARLES-GERMANY                                             Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $883.43
          CIT                                                                   Contingent
          21146 Network Place                                                   Unliquidated
          Chicago, IL 60673-1211                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract No. -7-000 re Sharp Copier s/n 55079687
          Last 4 digits of account number       CIT                          MX-3640N
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,009,238.91
          CMC Biologics A/S                                                     Contingent
          Vantaarnsvej 83B                                                      Unliquidated
          DK-2860 Soeborg                                                       Disputed
          Copenhagen
          DENMARK                                                                             Development and Manufacturing Service Agreement
                                                                             Basis for the claim:
                                                                             dated April 24, 2014
          Date(s) debt was incurred
          Last 4 digits of account number       CMCBIOLO                     Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $352.37
          Comcast                                                               Contingent
          PO BOX 1577                                                           Unliquidated
          NEWARK, NJ 07101-1577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       COMCASTO
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,526.51
          COMCAST BUSINESS                                                      Contingent
          PO BOX 37601                                                          Unliquidated
          PHILADELPHIA, PA 19101-0601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       COMBUS
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,173.70
          COMPUTERSHARE Shareholders Svcs                                       Contingent
          DEPT CH 19228                                                         Unliquidated
          PALATINE, IL 60055-9228                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       COMPUTER
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,785.64
          Concur Technologies, Inc.                                             Contingent
          62157 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       CONCUR
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,716.24
          CRYOPORT                                                              Contingent
          PO BOX 205955                                                         Unliquidated
          DALLAS, TX 75320-5955                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       CRYOPORT
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $333,513.00
          DELOITTE TAX LLP                                                      Contingent
          PO BOX 844736                                                         Unliquidated
          DALLAS, TX 75284-4736                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       DELOITTE
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $131,692.00
          DiBiase, Mary                                                         Contingent
          28 Boulder Brook Road                                                 Unliquidated
          Wellesley Hills, MA 02481                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
          Last 4 digits of account number                                    Plan
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $33,333.33
          Ernst & Young LLP                                                     Contingent
          Pittsbg Ntnl Bnk - Pitt 640382                                        Unliquidated
          Pittsburgh, PA 15264-0382                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       ERNSTUS
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $31,350.00
          Evaluate Ltd.                                                         Contingent
          11-29 Fashion Street                                                  Unliquidated
          London E1 6PX                                                         Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number       EVALUATE                     Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $400.27
          EVERSOURCE                                                            Contingent
          PO BOX 660369                                                         Unliquidated
          DALLAS, TX 75266-0369                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number       EVERSOURCE
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,288.51
          Evicom Limited
          The Old Sail Loft                                                     Contingent
          Eel Pie Island, Twickenham                                            Unliquidated
          Middlesex TW1 3DY                                                     Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number       EVICOM                       Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $754.06
          FEDEX                                                                 Contingent
          PO BOX 371461                                                         Unliquidated
          PITTSBURGH, PA 15250-7461                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       FEDEX
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $39,318.18
          FLEISHMANHILLARD INC                                                  Contingent
          PO BOX 771733                                                         Unliquidated
          ST LOUIS, MO 63177                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       FLEISHMAN
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,736,200.00
          Fujifilm Diosynth Biotechnologies Inc.                                Contingent
          Dept CH 16878                                                         Unliquidated
          Palatine, IL 60055-6878                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Bioprocessing Service Agreement dated April 17,
          Last 4 digits of account number       FUJIFILM                     2013
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Genefar B.V.
          The Management Board                                                  Contingent
          Ondernemingsweg 200                                                   Unliquidated
          1422 DZ Uithoorn                                                      Disputed
          THE NETHERLANDS
                                                                             Basis for the claim:    Stock Purchase Agreement dated June 30, 2016
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $788.72
          Global Conferencing Solutions LLC                                     Contingent
          P.O. Box 712524                                                       Unliquidated
          Salt Lake City, UT 84171-2524                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       GLOBALCO
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Greenberg Traurig, LLC                                                Contingent
          The MetLife Building                                                  Unliquidated
          200 Park Avenue                                                       Disputed
          Attention: Anthony J. Marsico, Esq.
          New York, NY 10166                                                               Additional Notice Party re At-the-Market Sales
                                                                             Basis for the claim:
                                                                             Agreement dated February 29, 2016
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          GROUP DYNAMIC INC                                                     Contingent
          411 US ROUTE ONE                                                      Unliquidated
          FALMOUTH, ME 04105                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee Benefit Plan administrator fees
          Last 4 digits of account number       GROUPDYN
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,524.91
          Iron Mountain                                                         Contingent
          PO Box 27128                                                          Unliquidated
          New York, NY 10087-7128                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered per Customer Agreement dated
          Last 4 digits of account number       IMOUNTAI                     June 24, 2015
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $127,192.00
          Kagy, Jeffrey                                                         Contingent
          76 Millbrook Ave                                                      Unliquidated
          Walpole, MA 02081                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
          Last 4 digits of account number                                    Plan
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $145,313.65
          KBI Biopharma, Inc.                                                   Contingent
          P.O. Box 15579                                                        Unliquidated
          Durham, NC 27704                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       KBIBIOPH
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $144,192.00
          Laranjeira, Charles                                                   Contingent
          30 Claremont Park                                                     Unliquidated
          Boston, MA 02118                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
          Last 4 digits of account number                                    Plan
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $198.75
          MacDougall Biomedical Communications, In                              Contingent
          888 Worcester St                                                      Unliquidated
          Wellesley, MA 02116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       MACDOUGAL
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,233.87
          MARSHALL GERSTEIN & BORUN LLP                                         Contingent
          6300 WILLIS TOWER                                                     Unliquidated
          CHICAGO, IL 60606-6402                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       MARSHALL
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,645.00
          Masy BioServices                                                      Contingent
          P.O. Box 485                                                          Unliquidated
          Pepperell, MA 01463                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       MASYSYST
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,877.63
          Mattos Filho
          Joaquim Eugenio de Lima                                               Contingent
          447 - S o Paulo SP                                                    Unliquidated
          01403-001                                                             Disputed
          BRAZIL
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number       MATTOSFI                     Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          McNiff, Kyle                                                          Contingent
          61 West St                                                            Unliquidated
          Westford, MA 01886                                                    Disputed
          Date(s) debt was incurred
                                                                                                Clinical Consulting agreement effective July 1, 2016
                                                                             Basis for the claim:
          Last 4 digits of account number                                    for an initial term expiring January 1, 2017.
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $49,093.58
          Mintz,Levin,Cohn,Ferris,                                              Contingent
          Glovsky and Popeo, P.C                                                Unliquidated
          One Financial Center                                                  Disputed
          Boston, MA 02111
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,877.50
          MORRIS NICHOLS ARSHT & TUNNELL                                        Contingent
          1201 North Market Street                                              Unliquidated
          WILMINGTON, DE 19899-1347                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       MORRISNICH
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,276.77
          Myoderm                                                               Contingent
          330 DeKalb Street                                                     Unliquidated
          Norristown, PA 19401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       MYODERM
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,067.76
          Nasdaq Stock Market                                                   Contingent
          LBX #20200                                                            Unliquidated
          Philadelphia,, PA 19178-0200                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       NASDAQSTOCK
                                                                             Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,776.57
          National Premier Partners, Inc.                                       Contingent
          44 Mechanic Street                                                    Unliquidated
          Newton, MA 02464                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       NATPREM
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $894.38
          Northern Business Machines                                            Contingent
          24 Terry Avenue                                                       Unliquidated
          Burlington, MA 01803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Maintenance Agreement dated September
          Last 4 digits of account number       NBMACHIN                     15, 2015
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $131,692.00
          Patel, Suman                                                          Contingent
          177 Rosemont Drive                                                    Unliquidated
          North Andover, MA 01845                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
          Last 4 digits of account number                                    Plan
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $227.18
          PITNEY BOWES                                                          Contingent
          PO BOX 371874                                                         Unliquidated
          PITTSBURGH, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                                             Puchase Power Equipment, Services and Software
                                                                             Basis for the claim:
          Last 4 digits of account number       PITNEYBW                     Meter Rental agreement
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $414.38
          QUENCH USA INC                                                        Contingent
          PO BOX 8500                                                           Unliquidated
          PHILADELPHIA, PA 19178-3203                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       QUENCH
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,750.16
          Reliance Life Sciences Pvt. Ltd.
          Dhirubhai Ambani Life Sciences Centre                                 Contingent
          Thane-Belapur Road, Rabale                                            Unliquidated
          Navi Mumbai-400 70I Attention: K.V. Subr                              Disputed
          INDIA
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number       RELIANCE                     Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $35,754.60
          RSM US LLP                                                            Contingent
          5155 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       RSM
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 13 of 16
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 Debtor       Epirus Biopharmaceuticals, Inc.                                                         Case number (if known)
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Scribner, Susan                                                       Contingent
          319 Park Street                                                       Unliquidated
          North Reading, MA 01864                                               Disputed
          Date(s) debt was incurred
                                                                                               Consulting Agreement effective May 23, 2016 for an
                                                                             Basis for the claim:
          Last 4 digits of account number                                    initial term expiring on July 31, 2016
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $238,788.00
          Shea, Thomas                                                          Contingent
          8 Villa Drive                                                         Unliquidated
          Medway, MA 02053                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
          Last 4 digits of account number                                    Plan
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $123.89
          Staples Advantage                                                     Contingent
          Dept BOS                                                              Unliquidated
          Boston, MA 02241-5256                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold
          Last 4 digits of account number       STAPLES
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Taro Pharmaceuticals USA Inc.                                         Contingent
          3 Skyline Drive                                                       Unliquidated
          Attention: General Counsel                                            Disputed
          Hawthorne, NY 10532
                                                                             Basis for the claim:    Share Purchase Agreement dated October 1, 2015
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,391.62
          THRIVE NETWORKS INC.                                                  Contingent
          495 BUSINESS CENTER, BLDG 300                                         Unliquidated
          TEWKSBURY, MA 01876                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       THRIVE
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $231,288.00
          Ticktin, Robert                                                       Contingent
          37 Marshall Rd                                                        Unliquidated
          Wellesley, MA 02482                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
          Last 4 digits of account number                                    Plan
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,167.50
          VANGUARD                                                              Contingent
          C/O ASCENSUS                                                          Unliquidated
          NEW YORK, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number       VANGUARD
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 14 of 16
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 Debtor       Epirus Biopharmaceuticals, Inc.                                                         Case number (if known)
              Name

 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Wahlberg, Laura                                                      Contingent
           307 Farm St                                                          Unliquidated
           Bellingham, MA 02019                                                 Disputed
           Date(s) debt was incurred
                                                                                               Consulting Agreement effective May 16, 2016 for an
                                                                             Basis for the claim:
           Last 4 digits of account number                                   initial term expiring July 29, 2016
                                                                             Is the claim subject to offset?      No       Yes

 3.65      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $129,192.00
           Waldron, Alex                                                        Contingent
           104 Lagrane St                                                       Unliquidated
           Chestnut Hill, MA 02467                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
           Last 4 digits of account number                                   Plan
                                                                             Is the claim subject to offset?      No       Yes

 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $11,809.74
           WRAYS PTY LTD                                                        Contingent
           PO BOX Z5466                                                         Unliquidated
           PERTH, WA 06831                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
           Last 4 digits of account number      WRAYS
                                                                             Is the claim subject to offset?      No       Yes

 3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $192,853.70
           WuXi AppTec                                                          Contingent
           24681 Network Place                                                  Unliquidated
           Chicago, IL 60673-1681                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
           Last 4 digits of account number      WUXI
                                                                             Is the claim subject to offset?      No       Yes

 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $238,788.00
           Wyand, DVM, Ph.D., Michael                                           Contingent
           113 Maple St                                                         Unliquidated
           Stow, MA 01775                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    EPIRUS Biopharmaceuticals, Inc. Severance
           Last 4 digits of account number                                   Plan
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Blake, Cassels & Graydon LLP
           595 Burrard Street, P.O. Box 49314                                                         Line     3.60
           Suite 2600, Three Bentall Centre
                                                                                                             Not listed. Explain
           Vancouver, British Columbia V7X 1L3 Atte
           CANADA




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 15 of 16
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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.2       Borden Ladner Gervais LLP
           40 King Street West                                                                   Line     3.60
           Attention: Adrian Liu
                                                                                                        Not listed. Explain
           Toronto, Ontario M5H 3Y4
           CANADA

 4.3       Catalent Pharma Solutions, LLC
           14 Schoolhouse Road                                                                   Line     3.13
           Attention: General Counsel (Legal Depart
                                                                                                        Not listed. Explain
           Somerset, NJ 08873

 4.4       Fujifilm Diosynth Biotechnoligies
           Belasis Avenue                                                                        Line     3.32
           Billingham, TZ23 1LH
                                                                                                        Not listed. Explain
           General Counsel
           UNITED KINGDOM

 4.5       Fujifilm Holdings America Corporation
           200 Summit Lake Drive                                                                 Line     3.32
           Assistant General Counsel
                                                                                                        Not listed. Explain
           Valhalla, NY 10595-1356

 4.6       Van Benthem & Keulen NV
           Archimedeslaan 61                                                                     Line     3.33
           3584 BA Utrecht
                                                                                                        Not listed. Explain
           Attention: Mr. S.E. Storm, attorney
           THE NETHERLANDS


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  6,663,388.27

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    6,663,388.27




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 16 of 16
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 Fill in this information to identify the case:

 Debtor name         Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Second Definitive
             lease is for and the nature of               License Agreement
             the debtor's interest                        dated October 1, 2013
                                                                                        Bioceros Holding B.V.
                  State the term remaining                                              Yalelaan 46
                                                                                        3584 CM Utrecht
             List the contract number of any                                            Attention: Remco M. Brandt
                   government contract                                                  THE NETHERLANDS


 2.2.        State what the contract or                   Additional Notice Party
             lease is for and the nature of               re Share Purchase
             the debtor's interest                        Agreement dated
                                                          October 1, 2015               Blake, Cassels & Graydon LLP
                  State the term remaining                                              595 Burrard Street, P.O. Box 49314
                                                                                        Suite 2600, Three Bentall Centre
             List the contract number of any                                            Vancouver, British Columbia V7X 1L3 Atte
                   government contract                                                  CANADA


 2.3.        State what the contract or                   Additional Notice Party
             lease is for and the nature of               re Share Purchase
             the debtor's interest                        Agreement dated
                                                          October 1, 2015               Borden Ladner Gervais LLP
                  State the term remaining                                              40 King Street West
                                                                                        Attention: Adrian Liu
             List the contract number of any                                            Toronto, Ontario M5H 3Y4
                   government contract                                                  CANADA


 2.4.        State what the contract or                   Contract No. -7-000 re
             lease is for and the nature of               Sharp Copier s/n
             the debtor's interest                        55079687 MX-3640N
                                                                                        CIT
                  State the term remaining                                              1021 Centurion Pkwy N
                                                                                        Suite 100
             List the contract number of any                                            Attn: Bankruptcy Management
                   government contract                                                  Jacksonville, FL 32256




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 Epirus Biopharmaceuticals, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Development and
             lease is for and the nature of               Manufacturing Service
             the debtor's interest                        Agreement dated April
                                                          24, 2014                    CMC Biologics A/S
                  State the term remaining                                            Vantaarnsvej 83B
                                                                                      DK-2860 Soeborg
             List the contract number of any                                          Copenhagen
                   government contract                                                DENMARK


 2.6.        State what the contract or                   Lease dated March,
             lease is for and the nature of               2013, as Amended
             the debtor's interest
                                                                                      CPT ONE EXETER PLAZA, LLC
                  State the term remaining                                            c/o AEW Capital Management, L.P.
                                                                                      Two Seaport Lane, World Trade Center Eas
             List the contract number of any                                          Attention: Asset Manager for CPT One Exe
                   government contract                                                Boston, MA 02210


 2.7.        State what the contract or                   Exclusive License
             lease is for and the nature of               Agreement dated June
             the debtor's interest                        30, 2016

                  State the term remaining                                            Epirus Pharmaceuticals (Netherlands) B.V
                                                                                      Yalelaan 46
             List the contract number of any                                          3584 CM Utrecht
                   government contract                                                THE NETHERLANDS


 2.8.        State what the contract or                   Bioprocessing Service
             lease is for and the nature of               Agreement dated April
             the debtor's interest                        17, 2013

                  State the term remaining                                            Fujifilm Diosynth Biotechnoligies
                                                                                      101 J. Morris Commons Lane
             List the contract number of any                                          President
                   government contract                                                Morrisville, NC 27560


 2.9.        State what the contract or                   Stock Purchase
             lease is for and the nature of               Agreement dated June
             the debtor's interest                        30, 2016
                                                                                      Genefar B.V.
                  State the term remaining                                            The Management Board
                                                                                      Ondernemingsweg 200
             List the contract number of any                                          1422 DZ Uithoorn
                   government contract                                                THE NETHERLANDS


 2.10.       State what the contract or                   Warrant Agreement re
             lease is for and the nature of               purchase 64,194 shares
             the debtor's interest                        of Public Epirus            Hercules Technology Growth Capital, Inc.
                                                          Common Stock at $7.01       Legal Department Attn: Chief Legal Offic
                                                          per share                   and Mr. Bryan Jadot
                  State the term remaining                                            400 Hamilton Avenue, Suite 310
                                                                                      Palo Alto, CA 94301
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 4
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 Debtor 1 Epirus Biopharmaceuticals, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Customer Agreement
             lease is for and the nature of               dated June 24, 2015
             the debtor's interest

                  State the term remaining
                                                                                      Iron Mountain
             List the contract number of any                                          PO Box 27128
                   government contract                                                New York, NY 10087-7128


 2.12.       State what the contract or                   Equipment
             lease is for and the nature of               Maintenance
             the debtor's interest                        Agreement dated
                                                          September 15, 2015
                  State the term remaining
                                                                                      Nothern Business Machines
             List the contract number of any                                          24 Terry Avenue
                   government contract                                                Burlington, MA 01803


 2.13.       State what the contract or                   Lease Agreement re
             lease is for and the nature of               equipment description
             the debtor's interest                        MX-3640

                  State the term remaining
                                                                                      Nothern Business Machines
             List the contract number of any                                          24 Terry Avenue
                   government contract                                                Burlington, MA 01803


 2.14.       State what the contract or                   Sales Agreement
             lease is for and the nature of               (Lease) re equipment
             the debtor's interest                        description Sharp
                                                          MX-3640N, Sharp
                                                          MX-DE14, and Sharp
                                                          MX-TU12
                  State the term remaining
                                                                                      Nothern Business Machines
             List the contract number of any                                          24 Terry Avenue
                   government contract                                                Burlington, MA 01803


 2.15.       State what the contract or                   Puchase Power
             lease is for and the nature of               Equipment, Services
             the debtor's interest                        and Software Meter
                                                          Rental agreement
                  State the term remaining
                                                                                      Pitney Bowes
             List the contract number of any                                          225 American Drive
                   government contract                                                Neenah, WI 54956-1005




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 4
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 Debtor 1 Epirus Biopharmaceuticals, Inc.                                                    Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   Collaboration
             lease is for and the nature of               Agreement dated July
             the debtor's interest                        13, 2015
                                                                                     Swiss Pharma International AG
                  State the term remaining                                           Waldmannstrasse 8
                                                                                     8001 Zurich
             List the contract number of any                                         Attention: General Counsel
                   government contract                                               SWITZERLAND


 2.17.       State what the contract or                   Share Purchase
             lease is for and the nature of               Agreement dated
             the debtor's interest                        October 1, 2015

                  State the term remaining                                           Taro Pharmaceuticals USA Inc.
                                                                                     3 Skyline Drive
             List the contract number of any                                         Attention: General Counsel
                   government contract                                               Hawthorne, NY 10532




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Epirus Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $660,085.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $701,000.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                                  $4,000.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Epirus Biopharmaceuticals, Inc.                                                           Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See list attached                                                                         $4,658,371.96                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See list attached                                                                           $475,582.94


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken
       CPT ONE EXETER PLAZA, LLC                                 Outstanding rent through June 2016 taken                      7/6/2016                      $213,025.08
       c/o AEW Capital Management, L.P.                          from security deposit funds.
       Two Seaport Lane, World Trade                             Last 4 digits of account number: -002
       Center Eas
       Attention: Asset Manager for CPT
       One Exe
       Boston, MA 02210


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address




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 Debtor       Epirus Biopharmaceuticals, Inc.                                                               Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    THE BIO-PHARMA                                    Lawsuit for                  United States District Court                Pending
               CONSULTANCY LIMITED v.                            ~£290k for unpaid            For the District of                         On appeal
               EPIRUS                                            past consulting              Massachusetts
                                                                                                                                          Concluded
               BIOPHARMACEUTICALS,                               services                     1 Courthouse Way
               INC,                                                                           Boston, MA 02210
                Case No.
               1:15-CV-12898-MLW

       7.2.    Reliance Life Sciences Pvt.                       Arbitration                  ICC International Court of                  Pending
               Ltd. vs Epirus                                    proceeding under             Arbitration                                 On appeal
               Pharmaceuticals                                   the Manufacturing            33-43 avenue du President
                                                                                                                                          Concluded
               (Switzerland) GmbH                                and Supply                   Wilson
               20894/RD                                          Agreement dated              75116 Paris
                                                                 May 14, 2014                 FRANCE


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Mintz Levin Cohn Ferris
                 Glovesky and Popeo PC
                 One Financial Center
                 Boston, MA 02111                                                                                              July 7, 2016          $60,000.00

                 Email or website address
                 chorian@mintz.com

                 Who made the payment, if not debtor?




       11.2.     Verdolino & Lowey PC
                 Pine Brook Office Park
                 124 Washington St.
                 Foxboro, MA 02035                                                                                             July 7, 2016          $45,000.00

                 Email or website address
                 mmartin@vlpc.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers          Total amount or
                                                                                                                      were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                           Description of property transferred or                  Date transfer         Total amount or
                Address                                          payments received or debts paid in exchange             was made                       value
       13.1 Moksha8 Pharmaceuticals,                             Termination of the company's revenue
       .    Inc.                                                 sharing payment obligations with respect
                1550 Liberty Ridge Drive                         to products that are biosimilars to
                Suite 300                                        infliximab, in exchange for payments of                 Sept 2014 &
                Wayne, PA 19087                                  $1,400,000                                              Oct 2014               $1,400,000.00

                Relationship to debtor
                Affiliated through common
                ownership




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               Who received transfer?                            Description of property transferred or                  Date transfer         Total amount or
               Address                                           payments received or debts paid in exchange             was made                       value
       13.2 Epirus Pharmaceuticals
       .    (Switzerland) Gmb
               General Guisan- Strasse 6
               6303 Zug
               SWITZERLAND                                       TRANSFER FUNDS TO SWISS                                 10/7/2014              $1,000,000.00

               Relationship to debtor
               Subsidiary


       13.3 Epirus Pharmaceuticals
       .    (Switzerland) Gmb
               General Guisan- Strasse 6
               6303 Zug
               SWITZERLAND                                       Reclass Investment                                      12/31/2014            $12,000,000.00

               Relationship to debtor
               Subsidiary


       13.4 Reliance Life Sciences Pvt.
       .    Ltd.
               Dhirubhai Ambani Life
               Sciences Centre                                   Reliance settlement agreement on
               Thane-Belapur Road, Rabale                        BOW015 Manufacturing and Supply in
               Navi Mumbai-400 70I                               April 2015 to resolve dispute on
               Attention: K.V. Subr                              Reliance’s exclusivity rights for BOW015
               INDIA                                             production.                                             4/1/2015               $1,750,000.00

               Relationship to debtor



       13.5 Taro Pharmaceuticals USA
       .    Inc.                                                 All of the issued and outstanding shares
               3 Skyline Drive                                   of Zalicus Pharmaceuticals Ltd., re Share
               Attention: General Counsel                        Purchase Agreement dated October 1,
               Hawthorne, NY 10532                               2015                                                    10/1/2015             $10,000,000.00

               Relationship to debtor



       13.6 Epirus Pharmaceuticals
       .    (Switzerland) Gmb
               General Guisan- Strasse 6
               6303 Zug
               SWITZERLAND                                       CAPITAL CONTRIBUTION US TO SW                           11/30/2015              $250,000.00

               Relationship to debtor
               Subsidiary


       13.7 Epirus Pharmaceuticals
       .    (Switzerland) Gmb
               General Guisan- Strasse 6
               6303 Zug
               SWITZERLAND                                       EQ INVST FROM EP US                                     12/24/2015            $15,000,000.00

               Relationship to debtor
               Subsidiary




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               Who received transfer?                            Description of property transferred or                  Date transfer         Total amount or
               Address                                           payments received or debts paid in exchange             was made                       value
       13.8 Epirus Pharmaceuticals
       .    (Switzerland) Gmb
               General Guisan- Strasse 6
               6303 Zug
               SWITZERLAND                                       EPIRUS US TRANSFER                                      3/31/2016              $1,000,000.00

               Relationship to debtor
               Subsidiary


       13.9                                                      1,247,349 shares in the share capital of
       .                                                         Epirus Pharmaceuticals (Netherlands)
                                                                 B.V., with a principal place of business at
                                                                 Yalelaan 46, 3584 CM Utrecht, The
               Genefar B.V.                                      Netherlands, re Stock Purchase
               Ondernemingsweg 200                               Agreement dated June 30, 2016 and
               1422 DZ Uithoorn                                  Settlement Agreement effective June 30,
               NETHERLANDS                                       2016                                                    6/30/2016              $1,679,789.00

               Relationship to debtor



       13.1 Carine van den Brink
       0.   Stichting Derdengelden Axon
               Advocaten                                         Paid to Carine van den Brink in her
               Piet Heinkade 193                                 capacity of attorney of the Bioceros
               1019 HC Amsterdam                                 Sellers per Settlement Agreement dated
               THE NETHERLANDS                                   June 30, 2016                                           6/30/2016              $2,082,262.00

               Relationship to debtor



       13.1 Verdolino & Lowey PC
       1.   Pine Brook Office Park
               124 Washington St.
               Foxboro, MA 02035                                 Wind Down funds                                         7/7/2016                $200,000.00

               Relationship to debtor



       13.1                                                      BOW070 Assigned Materials re
       2.                                                        Settlement Satisfaction Amendment to
                                                                 Livzon Agreements (Including BOW070
               Livzon Mabpharma, Inc.                            Supplement) dated July 15, 2016
               West Gate of Livzon Industrial                    including exclusive rights in respect of
               Park                                              the BOW070 LExclusive License
               No. 38 Chuangye North Road,                       Agreement dated 30 June 2016 between
               Liangang Ind                                      Epirus and Bioceros Holding BV, all right
               Hongqi Town, Jinwan Area,                         title and interest in and to all BOW070
               Zhuhai Guangdo                                    cell-line clones and development reports
               CHINA                                             and related materials.                                  7/15/2016                   Unknown

               Relationship to debtor




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                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value
       13.1                                                      BOW015 Agreements per Settlement
       3.                                                        Satisfaction Agreement dated July 18,
                                                                 2016, including Sun Pharma BOW015
                                                                 License Agreement, dated 3 January
                                                                 2014 between Sun Pharma (as sucessor
                Reliance Life Sciences Pvt.                      to Ranbaxy Laboratories) and Epirus,
                Ltd.                                             Catalent GPEx Cell Line Sales Agreement
                Dhirubhai Ambani Life                            dated 1 January 2009 between Catalent
                Sciences Centre                                  Pharma Solutions, LLC and Epirus, Cell
                Thane-Belapur Road, Rabale                       Bank Storgae Agreement daed 6 July
                Navi Mumbai-400 70I                              2009 between Catalent and Epirus, and PI
                Attention: K.V. Subr                             clinical trial data outside India for
                INDIA                                            BOW015 infliximab.                                      7/18/2016                    Unknown

                Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     Fourteen22, Inc.                                                                                          From January 2011
                 836 Alvarado Street
                 San Francisco, CA 94114

       14.2.     Fourteen22, Inc.                                                                                          From January 2011
                 c/o Maples Corporate Services Limited
                 PO Box 309, Ugland House Grand Cayman KY
                 CAYMAN ISLANDS

       14.3.     Fourteen22, Inc.                                                                                          From January 2011
                 800 Boylston Street
                 Boston, MA 02116

       14.4.     Zalicus Pharmaceuticals Ltd.                                                                              From September 2010 to October
                 301 – 2389 Health Sciences Mall                                                                           2015
                 Vancouver British Columbia V6T 1Z3
                 CANADA

       14.5.     Neuromed Pharmaceuticals Limited                                                                          From September 2010 to October
                 301 – 2389 Health Sciences Mall                                                                           2015
                 Vancouver British Columbia V6T 1Z3
                 CANADA

       14.6.     Zalicus Pharmaceuticals Ltd.                                                                              From September 2010 to October
                 c/o Zalicus Inc.                                                                                          2015
                 245 First Street Third Floor
                 Cambridge, MA 02142

       14.7.     Epirus Pharmaceuticals (Switzerland) Gmb                                                                  From June 2013 to June 2016
                 General Guisan- Strasse 6
                 6303 Zug
                 SWITZERLAND


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                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.8.     Epirus Biopharmaceuticals Ltd.                                                                            From January 2011
                 11 Old Jewry 7th Floor
                 London EC2R 8DU
                 UNITED KINGDOM

       14.9.     Fourteen22 (UK) Limited                                                                                   From January 2011
                 11 Old Jewry 7th Floor
                 London EC2R 8DU
                 UNITED KINGDOM

       14.10 Epirus Brasil Tecnologia Ltda                                                                                 From October 2013
       .     Avenida Bernardino de Campos
                 98 - 6º Andar Paraíso São Paulo 04004-0
                 BRAZIL

       14.11 Epirus Biopharmaceuticals (Netherlands)                                                                       From September 2015 to June 2016
       .     Yalelaan 46
                 3584 CM Utrecht
                 NETHERLANDS

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Epirus Biopharmaceuticals, Inc. 401 (k) Plan                                               EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Epirus Biopharmaceuticals, Inc. 401 (k) Plan                                               EIN: XX-XXXXXXX
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                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Zalicus Inc. 401(k) Plan                                                                   EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     Silicon Valley Bank                             XXXX-0602                   Checking                 6/29/2016                     $95,746.52
                 3003 Tasman Dr.                                                             Savings
                 Santa Clara, CA 95054
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Silicon Valley Bank                             XXXX-6657                   Checking                 6/2/2016                      $25,000.89
                 3003 Tasman Dr.                                                             Savings
                 Santa Clara, CA 95054
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.     Silicon Valley Bank                             XXXX-5731                   Checking                 5/27/2016                     $25,000.89
                 3003 Tasman Dr.                                                             Savings
                 Santa Clara, CA 95054
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.4.     Citi Brazil                                     XXXX-3029                   Checking                 4/7/2016                    $230,000.00
                 Avenida Paulista, 1.111                                                     Savings
                 São Paulo - SP
                                                                                             Money Market
                 01311- 920
                                                                                             Brokerage
                 BRAZIL
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Iron Mountain                                                 Kagy, Jeffrey                        Records relating to Zalicus             No
       175 Bearfoot Road                                             76 Millbrook Ave                                                             Yes
       Northborough, MA 01532                                        Walpole, MA 02081

                                                                     Daly, Sheila
                                                                     218 Cedar St.
                                                                     Wellesley Hills, MA 02481

                                                                     Cavanaugh, Taylor
                                                                     1750 Commonwealth
                                                                     Ave.
                                                                     #3
                                                                     Brighton, MA 02135



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?



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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Epirus Biopharmaceuticals                        Biotechnology                                    EIN:         58858466
             (Netherlands)
             Yalelaan 46                                                                                       From-To      9/9/2015 - 6/30/2016
             3584 CM
             Utrecht
             NETHERLANDS

    25.2.    Epirus Brasil Tecnologia Ltda                    Biotechnology                                    EIN:
             Avenida Bernardino de
             Campos                                                                                            From-To      From 10/23/2013
             98 - 6º Andar Paraíso
             São Paulo 04004-040 BR
             BRAZIL

    25.3.    Epirus Biopharmaceuticals                        Biotechnology                                    EIN:
             Ltd.
             11 Old Jewry                                                                                      From-To      From 1/25/2011
             7th Floor
             London EC2R 8DU
             UNITED KINGDOM

    25.4.    Epirus Pharmaceuticals                           Biotechnology                                    EIN:
             (Switzerland) Gmb
             General Guisan- Strasse 6                                                                         From-To      From 6/19/2013
             6303 Zug
             SWITZERLAND

    25.5.    Zalicus Pharmaceuticals                          Biotechnology                                    EIN:
             Ltd.
             301 - 2389 Health Sciences                                                                        From-To      9/8/2010 - 10/1/2015
             Mall
             Vancouver British
             Columbia V6T 1Z3
             CANADA


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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.6.    Fourteen22, Inc.                                 Biotechnology                                    EIN:
             836 Alvarado Street
             San Francisco, CA 94114                                                                           From-To      From January 2011

    25.7.    EB Sub, Inc.                                     Biotechnology                                    EIN:
             699 Boylston Street
             Boston, MA 02116                                                                                  From-To      From 7/15/2014

    25.8.    Cluster40 Therapeutics B.V.                      Biotechnology                                    EIN:
             Yalelaan 46
             3584 CM                                                                                           From-To      From 5/20/2016
             Utrecht
             NETHERLANDS

    25.9.    Cluster152 Therapeutics B.V.                     Biotechnology                                    EIN:
             Yalelaan 46
             3584 CM                                                                                           From-To      From 5/20/2016
             Utrecht
             NETHERLANDS

    25.10 Cluster270 Therapeutics B.V.                        Biotechnology                                    EIN:
    .
             Yalelaan 46
             3584 CM                                                                                           From-To      From 5/20/2016
             Utrecht
             NETHERLANDS

    25.11 Cluster279 Therapeutics B.V.                        Biotechnology                                    EIN:
    .
             Yalelaan 46
             3584 CM                                                                                           From-To      From 5/20/2016
             Utrecht
             NETHERLANDS


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Brandt, Remco M.P.                                                                                                         Through June 2016
                    Wim Schuhmacherhof 29
                    Almere, 1328 GJ
                    NETHERLANDS
       26a.2.       Ciszewski, Marek                                                                                                           January 2016 - June
                    907 Wild Ginger Trl                                                                                                        2016
                    West Chicago, IL 60185
       26a.3.       Hopstaken, Leonardo                                                                                                        Through June 2016
                    Nederland - Senior Manager - Business P
                    Deloitte Financial Advisory Services BV
                    Gustav Mahlerlaan 2970 Amsterdam
                    NETHERLANDS




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       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26a.4.       Javelle, Boris                                                                                                 Through June 2016
                    Archstrasse 7
                    Thalwil, 8800
                    SWITZERLAND
       26a.5.       Markus, Robert                                                                                                 March 2015 - July
                    24 Acorn Dr                                                                                                    2016
                    Andover, MA 01810
       26a.6.       McNiff, Kyle                                                                                                   February 2016 -
                    61 West St                                                                                                     June 2016 as
                    Westford, MA 01886                                                                                             employee, later
                                                                                                                                   continued under
                                                                                                                                   Clinical Consulting
                                                                                                                                   agreement effective
                                                                                                                                   July 1, 2016 for an
                                                                                                                                   initial term expiring
                                                                                                                                   January 1, 2017.
       26a.7.       Pardiwala, Bhavin                                                                                              February 2014 -
                    633 Boston Turnpike                                                                                            June 2016
                    Shrewsbury, MA 01545
       26a.8.       Paul, Wanda                                                                                                    October 2015 - June
                    76 Freeman Street                                                                                              2016
                    Auburndale, MA 02466
       26a.9.       Santostefano, Joanne                                                                                           February 2016 -
                    80 Paulies Pl, Unit 14                                                                                         June 2016
                    Tewksbury, MA 01876
       26a.10.      Scribner, Susan                                                                                                July 2014 - June
                    319 Park Street                                                                                                2016, later
                    North Reading, MA 01864                                                                                        continued under
                                                                                                                                   Consulting
                                                                                                                                   Agreement effective
                                                                                                                                   May 23, 2016 for an
                                                                                                                                   initial term expiring
                                                                                                                                   on July 31, 2016
       26a.11.      Shea, Thomas                                                                                                   June 2013 - June
                    8 Villa Drive                                                                                                  2016
                    Medway, MA 02053
       26a.12.      Wahlberg, Laura                                                                                                June 2013 - May
                    307 Farm St                                                                                                    2016 as employee,
                    Bellingham, MA 02019                                                                                           later continued
                                                                                                                                   under Consulting
                                                                                                                                   Agreement effective
                                                                                                                                   May 16, 2016 for an
                                                                                                                                   initial term expiring
                                                                                                                                   July 29, 2016

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None




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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       216 Accountants B.V.                                                                                                Various
                    Prinses Catharina-Amaliastraat 5
                    NETHERLANDS
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Deloitte Financial Advisory Services BV                                                                             Various
                    Gustav Mahlerlaan 2970
                    NETHERLANDS
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.3.       Daniel P. Young                                                                                                     Various
                    Deloitte Tax LLP
                    200 Berkely Street
                    Boston, MA 02116
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.4.       Ernst & Young Accountants LLP                                                                                       Various
                    Booompjes 258
                    NETHERLANDS
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.5.       Ernst & Young AG                                                                                                    Various
                    Aeschengraben 9
                    Basel
                    SWITZERLAND
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.6.       Ernst & Young LLP                                                                                                   Various
                    200 Clarendon Street
                    Boston, MA 02116
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.7.       McGladrey LLP                                                                                                       Various
                    5155 Paysphere Circle
                    Chicago, IL 60674

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Markus, Robert
                    24 Acorn Dr
                    Andover, MA 01810
       26c.2.       Ticktin, Robert
                    37 Marshall Rd
                    Wellesley, MA 02482
       26c.3.       Ernst & Young LLP
                    200 Clarendon Street
                    Boston, MA 02116
       26c.4.       DELOITTE TAX LLP
                    PO BOX 844736
                    Dallas, TX 75284-4736

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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.5.       McGladrey LLP
                    5155 Paysphere Circle
                    Chicago, IL 60674
       26c.6.       Verdolino & Lowey PC
                    Pine Brook Office Park
                    124 Washington St.
                    Foxboro, MA 02035
       26c.7.       InterTrust Services Switzerland AG
                    Esther Notz` Director Corporate Services
                    Alpenstrasse 15
                    6300 Zug
                    SWITZERLAND

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       LEERINK PARTNERS LLC
                    1 FEDERAL STREET
                    37th Floor
                    Boston, MA 02110
       26d.2.       HERCULES TECHNOLOGY GROWTH CAPITAL, INC.
                    400 Hamilton Avenue, Suite 310
                    Palo Alto, CA 94301
       26d.3.       U. S. Securities and Exchange Commission
                    100 F Street, NE
                    Washington, DC 20549
       26d.4.       BTIG, LLC
                    825 Third Avenue
                    6th Floor
                    Attention: Chief Operating Officer
                    New York, NY 10022

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Aurentz, Vincent                               1105 Pinehurst Dr                                   Senior Vice President, Chief          Less than one
                                                      Chapel Hill, NC 27517                               Business Officer                      percent
                                                                                                                                                beneficial
                                                                                                                                                interest




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       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Markus, Robert                                 24 Acorn Dr                                         Senior Director, Accounting        Less than one
                                                      Andover, MA 01810                                   Operations                         percent
                                                                                                                                             beneficial
                                                                                                                                             interest
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Ticktin, Robert                                37 Marshall Rd                                      Senior Vice President,             Less than one
                                                      Wellesley, MA 02482                                 General Counsel and                percent
                                                                                                          Secretary                          beneficial
                                                                                                                                             interest
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Buchi, Kevin                                   TetraLogic Pharmaceuticals                          Director                           Less than one
                                                      343 Phoenixville Pike                                                                  percent
                                                      Malvern, PA 19355                                                                      beneficial
                                                                                                                                             interest
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Corrigan, M.D., Mark H.N.                      389 Marlborough St.                                 Director, Chairman of the          Less than one
                                                      Boston, MA 02115                                    Board                              percent
                                                                                                                                             beneficial
                                                                                                                                             interest
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Duyk, M.D., Ph.D., Geoffrey                    TPG ART/TPG Biotech                                 Director                           Less than one
                                                      345 California Street, Suite 3300                                                      percent
                                                      San Francisco, CA 94104                                                                beneficial
                                                                                                                                             interest
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Fu, Ph.D., Daotian                             Livzon Mabpharm, Inc.                               Director                           Less than one
                                                      No.38 Chuangye Road North,                                                             percent
                                                      Jinwan District,-Zhuhai, Guangdong                                                     beneficial
                                                      51909                                                                                  interest
                                                      CHINA
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Hunter, M.D., William                          Cardiome Pharma Corp                                Director                           Less than one
                                                      6190 Agronomy Rd, Suite 405                                                            percent
                                                      Vancouver, BC V6T 1Z3                                                                  beneficial
                                                      CANADA                                                                                 interest
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       McHugh, Julie                                  Ironwood Pharma                                     Director                           Less than one
                                                      New Xellia Group and Trevena                                                           percent
                                                      Pharmaceuti                                                                            beneficial
                                                      1421 Parsons Lane                                                                      interest
                                                      Ambler, PA 19002
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Rocklage, Ph.D., Scott                         5 AM Ventures                                       Director                           Less than one
                                                      Waltham Woods Corporate Center                                                         percent
                                                      890 Winter Street, Suite 140                                                           beneficial
                                                      Waltham, MA 02451                                                                      interest


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


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            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Munshi, Amit                                   17 Rustic View Lane                                 President, Chief                May 2012 -
                                                      Greenwich, CT 06830                                 Executive Officer and           5/6/2016
                                                                                                          Director, 1.9% beneficial
                                                                                                          interest
       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Shea, Thomas                                   8 Villa Drive                                       Senior Vice President,          June 2013 -
                                                      Medway, MA 02053                                    Chief Financial Officer         6/30/2016
                                                                                                          and Treasurer, less than
                                                                                                          one percent beneficial
                                                                                                          interest
       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Wyand, DVM, Ph.D.,                             113 Maple St                                        Senior Vice President,          April 2015 -
       Michael                                        Stow, MA 01775                                      Chief Technical Officer,        6/30/2016
                                                                                                          less than one percent
                                                                                                          beneficial interest

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Aurentz, Vincent
       .    1105 Pinehurst Dr
               Chapel Hill, NC 27517                             $20,717.65                                              June 2016        Gross wages

               Relationship to debtor
               Senior Vice President, Chief
               Business Officer


       30.2                                                      Option No: N002029 Option Date:
       .    Aurentz, Vincent                                     11/09/2015 Shares: 177,000 Price: $5.2100
               1105 Pinehurst Dr                                 Plan: 2015 Type: NQ Accept Date:                                         Plan: 2015 Type:
               Chapel Hill, NC 27517                             04/26/2016                                              11/09/2015       NQ

               Relationship to debtor
               Senior Vice President, Chief
               Business Officer


       30.3                                                      Option No: N002030 Option Date:
       .    Aurentz, Vincent                                     11/09/2015 Shares: 42,487 Price: $5.2100
               1105 Pinehurst Dr                                 Plan: 2015 Type: NQ Accept Date:                                         Plan: 2015 Type:
               Chapel Hill, NC 27517                             04/26/2016                                              11/09/2015       NQ

               Relationship to debtor
               Senior Vice President, Chief
               Business Officer


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               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value
       30.4 Aurentz, Vincent                                     Award No: N002099 Award Date:
       .    1105 Pinehurst Dr                                    05/27/2016 Shares: 230,000 Price: $0.0000                               Plan: 2015 Type:
               Chapel Hill, NC 27517                             Plan: 2015 Type: RSU Accept Date:                       5/27/2016       RSU

               Relationship to debtor
               Senior Vice President, Chief
               Business Officer


       30.5 Aurentz, Vincent                                                                                                             Gross wages and
       .    1105 Pinehurst Dr                                                                                                            Retention / Wind
               Chapel Hill, NC 27517                             $80,000.00                                              July 2016       Down

               Relationship to debtor
               Senior Vice President, Chief
               Business Officer


       30.6 Munshi, Amit                                                                                                 July 2015       Gross payroll plus
       .    17 Rustic View Lane                                  $600,752.81 wages plus $79,880.85 local                 through June    local living
               Greenwich, CT 06830                               living expenses                                         2016            expenses

               Relationship to debtor
               President, Chief Executive
               Officer and Director


       30.7 Munshi, Amit                                         Option No: N001957 Option Date:
       .    17 Rustic View Lane                                  11/02/2015 Shares: 1 Price: $5.5500 Plan:                               Plan: 2015 Type:
               Greenwich, CT 06830                               2015 Type: ISO Accept Date: 01/27/2016                  11/02/2015      ISO

               Relationship to debtor
               President, Chief Executive
               Officer and Director


       30.8 Munshi, Amit                                         Option No: N001957 Option Date:
       .    17 Rustic View Lane                                  11/02/2015 Shares: 1 Price: $5.5500 Plan:                               Plan: 2015 Type:
               Greenwich, CT 06830                               2015 Type: ISO Accept Date: 01/27/2016                  11/02/2015      ISO

               Relationship to debtor
               President, Chief Executive
               Officer and Director


       30.9                                                      Option No: N002027 Option Date:
       .    Munshi, Amit                                         11/02/2015 Shares: 199,536 Price: $5.5500
               17 Rustic View Lane                               Plan: 2015 Type: NQ Accept Date:                                        Plan: 2015 Type:
               Greenwich, CT 06830                               01/27/2016                                              11/02/2015      NQ

               Relationship to debtor
               President, Chief Executive
               Officer and Director


       30.1 Shea, Thomas                                                                                                 July 2015
       0.   8 Villa Drive                                                                                                through June
               Medway, MA 02053                                  $410,391.13                                             2016            Gross wages

               Relationship to debtor
               Senior Vice President, Chief
               Financial Officer and
               Treasurer


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               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value
       30.1                                                      Option No: N001998 Option Date:
       1.   Shea, Thomas                                         11/02/2015 Shares: 10,616 Price: $5.5500
               8 Villa Drive                                     Plan: 2015 Type: ISO Accept Date:                                       Plan: 2015 Type:
               Medway, MA 02053                                  12/08/2015                                              11/02/2015      ISO

               Relationship to debtor
               Senior Vice President, Chief
               Financial Officer and
               Treasurer


       30.1                                                      Option No: N002019 Option Date:
       2.   Shea, Thomas                                         11/02/2015 Shares: 46,226 Price: $5.5500
               8 Villa Drive                                     Plan: 2015 Type: NQ Accept Date:                                        Plan: 2015 Type:
               Medway, MA 02053                                  12/08/2015                                              11/02/2015      NQ

               Relationship to debtor
               Senior Vice President, Chief
               Financial Officer and
               Treasurer


       30.1 Shea, Thomas                                         Award No: N002075 Award Date:
       3.   8 Villa Drive                                        05/27/2016 Shares: 230,000 Price: $0.0000                               Plan: 2015 Type:
               Medway, MA 02053                                  Plan: 2015 Type: RSU Accept Date:                       5/27/2016       RSU

               Relationship to debtor
               Senior Vice President, Chief
               Financial Officer and
               Treasurer


       30.1 Ticktin, Robert                                                                                              July 2015
       4.   37 Marshall Rd                                                                                               through June
               Wellesley, MA 02482                               $396,525.10                                             2016            Gross wages

               Relationship to debtor
               Senior Vice President,
               General Counsel and
               Secretary


       30.1 Ticktin, Robert                                      Award No: N002080 Award Date:
       5.   37 Marshall Rd                                       05/27/2016 Shares: 230,000 Price: $0.0000                               Plan: 2015 Type:
               Wellesley, MA 02482                               Plan: 2015 Type: RSU Accept Date:                       5/27/2015       RSU

               Relationship to debtor
               Senior Vice President,
               General Counsel and
               Secretary


       30.1                                                      Option No: N001951 Option Date:
       6.   Ticktin, Robert                                      11/02/2015 Shares: 9,048 Price: $5.5500
               37 Marshall Rd                                    Plan: 2015 Type: ISO Accept Date:                                       Plan: 2015 Type:
               Wellesley, MA 02482                               12/11/2015                                              11/02/2015      ISO

               Relationship to debtor
               Senior Vice President,
               General Counsel and
               Secretary




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               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value
       30.1                                                      Option No: N002024 Option Date:
       7.   Ticktin, Robert                                      11/02/2015 Shares: 30,426 Price: $5.5500
               37 Marshall Rd                                    Plan: 2015 Type: NQ Accept Date:                                        Plan: 2015 Type:
               Wellesley, MA 02482                               12/11/2015                                              11/02/2015      NQ

               Relationship to debtor
               Senior Vice President,
               General Counsel and
               Secretary


       30.1                                                      Option No: N002024 Option Date:
       8.   Ticktin, Robert                                      11/02/2015 Shares: 30,426 Price: $5.5500
               37 Marshall Rd                                    Plan: 2015 Type: NQ Accept Date:                                        Plan: 2015 Type:
               Wellesley, MA 02482                               12/11/2015                                              11/02/2015      NQ

               Relationship to debtor
               Senior Vice President,
               General Counsel and
               Secretary


       30.1 Ticktin, Robert                                                                                                              Gross wages and
       9.   37 Marshall Rd                                                                                                               Retention / Wind
               Wellesley, MA 02482                               $74,752.25                                              July 2016       Down

               Relationship to debtor
               Senior Vice President,
               General Counsel and
               Secretary


       30.2 Wyand, DVM, Ph.D., Michael                                                                                   July 2015
       0.   113 Maple St                                                                                                 through June
               Stow, MA 01775                                    $400,861.55                                             2016            Gross wages

               Relationship to debtor
               Senior Vice President, Chief
               Technical Officer


       30.2 Wyand, DVM, Ph.D., Michael                           Award No: N002079 Award Date:
       1.   113 Maple St                                         05/27/2016 Shares: 280,000 Price: $0.0000                               Plan: 2015 Type:
               Stow, MA 01775                                    Plan: 2015 Type: RSU Accept Date:                       5/27/2016       RSU

               Relationship to debtor
               Senior Vice President, Chief
               Technical Officer


       30.2                                                      Option No: N001954 Option Date:
       2.   Wyand, DVM, Ph.D., Michael                           11/02/2015 Shares: 9,213 Price: $5.5500
               113 Maple St                                      Plan: 2015 Type: ISO Accept Date:                                       Plan: 2015 Type:
               Stow, MA 01775                                    03/08/2016                                              11/02/2015      ISO

               Relationship to debtor
               Senior Vice President, Chief
               Technical Officer




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2                                                      Option No: N001954 Option Date:
       3.   Wyand, DVM, Ph.D., Michael                           11/02/2015 Shares: 9,213 Price: $5.5500
               113 Maple St                                      Plan: 2015 Type: ISO Accept Date:                                         Plan: 2015 Type:
               Stow, MA 01775                                    03/08/2016                                              11/02/2015        ISO

               Relationship to debtor
               Senior Vice President, Chief
               Technical Officer


       30.2                                                      Option No: N002023 Option Date:
       4.   Wyand, DVM, Ph.D., Michael                           11/02/2015 Shares: 49,034 Price: $5.5500
               113 Maple St                                      Plan: 2015 Type: NQ Accept Date:                                          Plan: 2015 Type:
               Stow, MA 01775                                    03/08/2016                                              11/02/2015        NQ

               Relationship to debtor
               Senior Vice President, Chief
               Technical Officer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Epirus Biopharmaceuticals, Inc. 401 (k) Plan                                                               EIN:        XX-XXXXXXX

    Epirus Biopharmaceuticals, Inc. 401 (k) Plan                                                               EIN:        XX-XXXXXXX

    Zalicus Inc. 401(k) Plan                                                                                   EIN:        XX-XXXXXXX




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 25, 2016

 /s/ Robert Ticktin                                                     Robert Ticktin
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         SVP, General Counsel & Corporate
                                            Secretary

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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Vendor Name                                      Document Number      Vendor ID    Document Date   Document Amount
ADP                                              wire                 ADP            6/24/2016     $           216.30
ADP                                              wire                 ADP            6/29/2016     $        85,428.96
ADP                                              wire                 ADP            7/1/2016      $           174.10
ADP                                              wire                 ADP            7/14/2016     $        82,983.51
ADP                                              wire                 ADP            7/21/2016     $        75,000.00
ADP                                              wire                                7/21/2016     $        73,108.19
ADP Total                                                                                          $       316,911.06
ALEX WALDRON                                     101877               WALDRON        5/9/2016      $        10,558.96
ALEX WALDRON Total                                                                                 $        10,558.96
AMERICAN EXPRESS                                 15046                               7/21/2016     $        12,045.93
AMERICAN EXPRESS Total                                                                             $        12,045.93
Barbara Chan                                     101844               CHAN           5/5/2016      $        38,697.00
Barbara Chan Total                                                                                 $        38,697.00
BIOAGILYTIX LABS                                 101847               BIOAGILY       5/9/2016      $          9,709.11
BIOAGILYTIX LABS Total                                                                             $          9,709.11
Biobridges                                       101848               BIOBRIDGE      5/9/2016      $          5,775.00
Biobridges                                       101883               BIOBRIDGE      5/23/2016     $          5,862.00
Biobridges                                       101896               BIOBRIDGE      6/1/2016      $          5,550.00
Biobridges                                       101901               BIOBRIDGE      6/13/2016     $        18,741.00
Biobridges                                       101921               BIOBRIDGE      6/16/2016     $        12,444.00
Biobridges Total                                                                                   $        48,372.00
BIOPROCESS TECH CONSULTANTS                      101903               BIOPROCESS     6/13/2016     $          7,778.75
BIOPROCESS TECH CONSULTANTS Total                                                                  $          7,778.75
BOB JUFFRAS                                      101929               JUFFRAS        6/16/2016     $        11,571.89
BOB JUFFRAS Total                                                                                  $        11,571.89
CFGI Holdings, LLC                               101853               CORPFING       5/9/2016      $        78,408.75
CFGI Holdings, LLC Total                                                                           $        78,408.75
CHARLES LARANJEIRA                               101874               LARANJEIRA     5/9/2016      $        12,113.73
CHARLES LARANJEIRA Total                                                                           $        12,113.73
CMS Derks Sar Busmann NV                         wire                                7/21/2016     $        15,467.51
CMS Derks Sar Busmann NV Total                                                                     $        15,467.51
CPT One Exeter Plaza LLC                         101854               CPTONEEX       5/9/2016      $        48,823.82
CPT One Exeter Plaza LLC Total                                                                     $        48,823.82
DANFORTH ADVISORS                                101897               DANFORTH       6/1/2016      $        13,616.00
DANFORTH ADVISORS Total                                                                            $        13,616.00
DELOITTE TAX LLP                                 101855               DELOITTE       5/9/2016      $       205,446.00
DELOITTE TAX LLP Total                                                                             $       205,446.00
EGNYTE, INC                                      101945               EGNYTE         6/29/2016     $        12,512.50
EGNYTE, INC Total                                                                                  $        12,512.50
Ernst & Young LLP                                101889               ERNSTUS        5/23/2016     $        91,970.50
Ernst & Young LLP Total                                                                            $        91,970.50
EVANS MANUFACTURING CONSULTANTS LLC              101888               EVANS          5/23/2016     $        15,000.00
EVANS MANUFACTURING CONSULTANTS LLC              101904               EVANS          6/13/2016     $          4,800.00
EVANS MANUFACTURING CONSULTANTS LLC Total                                                          $        19,800.00
FLEISHMANHILLARD INC                             101878               FLEISHMAN      5/10/2016     $        24,513.40
FLEISHMANHILLARD INC Total                                                                         $        24,513.40
Flynn Life Sciences Group Inc.                   101860               FLYNNLIF       5/9/2016      $          2,072.00
Flynn Life Sciences Group Inc.                   101890               FLYNNLIF       5/23/2016     $          1,904.00
Flynn Life Sciences Group Inc.                   101902               FLYNNLIF       6/13/2016     $          7,952.00
Flynn Life Sciences Group Inc. Total                                                               $        11,928.00
Hercules Capital                                 wire                 HERCULES       7/13/2016     $      1,100,000.00
Hercules Capital                                 wire                 HERCULES       7/14/2016     $       500,000.00
Hercules Capital Total                                                                             $      1,600,000.00
Jade Z Li                                        101931               LIJADE         6/16/2016     $          7,375.50
Jade Z Li Total                                                                                    $          7,375.50




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Jamestown Premier 245 First LL                   101849               CAMBSCIE        5/9/2016      $       141,020.28
Jamestown Premier 245 First LL Total                                                                $       141,020.28
Jeffrey J Kagy                                   101915               KAGYJ           6/15/2016     $          7,783.47
Jeffrey J Kagy                                   101930               KAGYJ           6/16/2016     $          3,342.34
Jeffrey J Kagy Total                                                                                $        11,125.81
JESSICA JOHNSON                                  101873               JOHNSONJ        5/9/2016      $          7,426.08
JESSICA JOHNSON                                  101916               JOHNSONJ        6/16/2016     $          3,490.00
JESSICA JOHNSON Total                                                                               $        10,916.08
Mark W Melville                                  101934               MELVILLE        6/16/2016     $        11,600.72
Mark W Melville Total                                                                               $        11,600.72
Markus, Robert L                                 101932               MARKUS          6/16/2016     $        10,539.88
Markus, Robert L                                 101946               MARKUS          6/29/2016     $          5,585.20
Markus, Robert L                                 eft                                  7/15/2016     $        15,356.25
Markus, Robert L                                                                      7/22/2016     $        30,712.50
Markus, Robert L Total                                                                              $        62,193.83
Mary Dibiase                                                          DIBIASE         6/16/2016     $        11,384.15
Mary Dibiase Total                                                                                  $        11,384.15
Merrill Communications LLC                       101866               MERRCOMM        5/9/2016      $          6,120.90
Merrill Communications LLC                       wire                 MERRILLCOMM      7/1/2016     $        30,000.10
Merrill Communications LLC                       wire                                 7/21/2016     $          1,000.00
Merrill Communications LLC Total                                                                    $        37,121.00
MINTZ LEVIN P.C.                                 101893               MINTZLEV        5/23/2016     $        68,036.16
MINTZ LEVIN P.C.                                 101910               MINTZLEV        6/13/2016     $       190,954.53
MINTZ LEVIN P.C.                                 101924               MINTZLEV        6/16/2016     $       100,000.00
MINTZ LEVIN P.C.                                 wire                 MINTZ           7/7/2016      $        60,000.00
MINTZ LEVIN P.C.                                 wire                                 7/22/2016     $        25,000.00
MINTZ LEVIN P.C. Total                                                                              $       443,990.69
Sonit Tomar                                      101941               TOMARS          6/16/2016     $          7,818.26
Sonit Tomar Total                                                                                   $          7,818.26
Sullivan Insurance Group Inc.                    101868               SULLIVAN        5/9/2016      $          5,203.00
Sullivan Insurance Group Inc.                    Wire Transfer        SULLIVAN        6/16/2016     $      1,258,000.00
Sullivan Insurance Group Inc. Total                                                                 $      1,263,203.00
Suman Patel                                      101937               PATELS          6/16/2016     $          7,686.81
Suman Patel Total                                                                                   $          7,686.81
THRIVE NETWORKS, INC                             101870               THRIVE          5/9/2016      $          8,300.14
THRIVE NETWORKS, INC Total                                                                          $          8,300.14
Wahlberg, Laura                                  101942               WAHLBERGL       6/16/2016     $          3,714.48
Wahlberg, Laura                                  eft                                  7/15/2016     $          3,000.00
Wahlberg, Laura Total                                                                               $          6,714.48
Wahlberg, Meredith C                             101943               WAHLBERGM       6/16/2016     $          3,206.30
Wahlberg, Meredith C                             101948               WAHLBERGM       6/29/2016     $          1,569.99
Wahlberg, Meredith C                             eft                                  7/15/2016     $          4,166.67
Wahlberg, Meredith C                             eft                                  7/22/2016     $          8,333.34
Wahlberg, Meredith C Total                                                                          $        17,276.30
WuXi AppTec                                      101899               WUXI            6/1/2016      $        20,400.00
WuXi AppTec Total                                                                                   $        20,400.00
Grand Total                                                                                         $      4,658,371.96




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Vendor Name                          Document Number    Vendor ID    Document Date   Document Amount
DAOTIAN FU-(wire)                    0001173            DAOTIANF       8/13/2015     $         9,166.67
DAOTIAN FU-(wire)                    0001523            DAOTIANF      10/28/2015     $        10,000.00
DAOTIAN FU-(wire)                    0001634            DAOTIANF      11/10/2015     $         6,340.70
DAOTIAN FU-(wire) Total                                                              $        25,507.37
GEOFFREY DUYK                        100845             DUYKG          8/13/2015     $        10,958.33
GEOFFREY DUYK                        101117             DUYKG         10/27/2015     $        11,875.00
GEOFFREY DUYK                        101550             DUYKG          1/7/2016      $        11,875.00
GEOFFREY DUYK                        101824             DUYKG          4/14/2016     $        11,875.00
GEOFFREY DUYK Total                                                                  $        46,583.33
JULIE MCHUGH                         100852             MCHUGHJ        8/13/2015     $        11,458.33
JULIE MCHUGH                         101131             MCHUGHJ       10/27/2015     $        13,125.00
JULIE MCHUGH                         101179             MCHUGHJ        11/6/2015     $           857.89
JULIE MCHUGH                         101491             MCHUGHJ       12/21/2015     $           970.66
JULIE MCHUGH                         101552             MCHUGHJ        1/7/2016      $        13,125.00
JULIE MCHUGH                         101828             MCHUGHJ        4/14/2016     $        13,125.00
JULIE MCHUGH Total                                                                   $        52,661.88
Kevin Buchi                          100838             BUCHIK         8/13/2015     $        12,916.67
Kevin Buchi                          101100             BUCHIK        10/27/2015     $        13,750.00
Kevin Buchi                          101553             BUCHIK         1/7/2016      $        13,750.00
Kevin Buchi                          101841             BUCHIK         4/28/2016     $           831.58
Kevin Buchi Total                                                                    $        41,248.25
MARK CORRIGAN                        100842             CORRIGAN       8/13/2015     $        15,000.00
MARK CORRIGAN                        100959             CORRIGAN       9/3/2015      $         2,150.00
MARK CORRIGAN                        101110             CORRIGAN      10/27/2015     $        15,000.00
MARK CORRIGAN                        101479             CORRIGAN      12/21/2015     $         1,273.45
MARK CORRIGAN                        101551             CORRIGAN       1/7/2016      $        15,000.00
MARK CORRIGAN                        101823             CORRIGAN       4/14/2016     $        15,000.00
MARK CORRIGAN Total                                                                  $        63,423.45
Michael Wyand                        101944             WYANDM         6/16/2016     $        12,319.75
Michael Wyand Total                                                                  $        12,319.75
Robert Ticktin                       101940             TICKTINR       6/16/2016     $        18,277.38
Robert Ticktin                       101947             TICKTINR       6/29/2016     $         8,931.31
Robert Ticktin Total                                                                 $        27,208.69
SCOTT ROCKLAGE                       101086             ROCKLAGES      10/8/2015     $        11,666.67
SCOTT ROCKLAGE                       101142             ROCKLAGES     10/27/2015     $        12,500.00
SCOTT ROCKLAGE                       101554             ROCKLAGES      1/7/2016      $        12,500.00
SCOTT ROCKLAGE                       101830             ROCKLAGES      4/14/2016     $        12,500.00
SCOTT ROCKLAGE Total                                                                 $        49,166.67
Thomas A Shea                        101939             SHEAT          6/16/2016     $        18,123.69
Thomas A Shea Total                                                                  $        18,123.69
VINCENT AURENTZ                      0002033            AURENTZ        12/9/2015     $        73,907.12
VINCENT AURENTZ                      0002550            AURENTZ       12/29/2015     $        27,002.60
VINCENT AURENTZ                      101927             AURENTZ        6/16/2016     $        12,861.48
VINCENT AURENTZ                      101949             AURENTZ        6/29/2016     $         8,273.48
VINCENT AURENTZ Total                                                                $       122,044.68
WILLIAM HUNTER                       EFT                HUNTERW       10/13/2015     $        11,102.26
WILLIAM HUNTER                       101172             HUNTERW        11/6/2015     $         3,730.72
WILLIAM HUNTER                       15049                             7/21/2016     $         2,462.20
WILLIAM HUNTER Total                                                                 $        17,295.18
Grand Total                                                                          $       475,582.94



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                      AMERICAN GAS PRODUCT
                      24 VINE STREET
                      EVERETT, MA 02149

                      ATLANTIC COFFEE
                      267 LIBBEY PARKWAY
                      WEYMOUTH, MA 02189

                      Aurentz, Vincent
                      1105 Pinehurst Dr
                      Chapel Hill, NC 27517

                      BAR & KARRER
                      Brandschenkestrasse 90
                      8002 Z rich
                      SWITZERLAND

                      Belastingdienst Apeldoorn
                      Laan van Westenenk 490
                       7334 DS
                      Apeldoorn
                      THE NETHERLANDS

                      BENEFIT STRATEGIES
                      PO BOX 1660
                      MANCHESTER, NH 03105-1660

                      BIOAGILYTIX LABS
                      2300 ENGLERT DRIVE
                      DURHAM, NC 27713

                      Bioceros Holding B.V.
                      Yalelaan 46
                      3584 CM Utrecht
                      Attention: Remco M. Brandt
                      THE NETHERLANDS

                      Biologics Development Services, LLC
                      c/o Susan Lundy
                      5670 West Cypress Street
                      Suite D
                      Tampa, FL 33607

                      Biotec Services International Ltd
                      Biotec House, Central Park
                      Western Avenue, Bridgend Industrial Esta
                      Bridgend, CF31 3RT
                      UNITED KINGDOM

                      Blake, Cassels & Graydon LLP
                      595 Burrard Street, P.O. Box 49314
                      Suite 2600, Three Bentall Centre
                      Vancouver, British Columbia V7X 1L3 Atte
                      CANADA
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                  Blue Cross Blue Shield MA
                  BOX 371318
                  Pittsburgh, PA 15250-7318

                  Borden Ladner Gervais LLP
                  40 King Street West
                  Attention: Adrian Liu
                  Toronto, Ontario M5H 3Y4
                  CANADA

                  BTIG, LLC
                  600 Montgomery St - 6th FL
                  San Francisco, CA 94111

                  BTIG, LLC
                  825 Third Avenue
                  6th Floor
                  Attention: Chief Operating Officer
                  New York, NY 10022

                  BTIG, LLC
                  600 Montgomery St - 6th FL
                  Attention: General Counsel and Chief Com
                  San Francisco, CA 94111

                  CAMBRIDGE PRINTING CO, INC
                  47 7TH ST.
                  CAMBRIDGE, MA 02141

                  Canada Revenue Agency
                  Commissioner of Revenue
                  555 MacKenzie Avenue, 7th Floor
                  Ottawa ON K1A 0L5
                  CANADA

                  Catalent Pharma Solutions, LLC
                  8137 Forsythia Street
                  Attention: Vice President/General Manage
                  Middleton, WI 53562

                  Catalent Pharma Solutions, LLC
                  14 Schoolhouse Road
                  Attention: General Counsel (Legal Depart
                  Somerset, NJ 08873

                  CEEK Enterprises
                  98 Newport Street
                  Arlington, MA 02476

                  CFGI Holdings, LLC
                  PO Box 8000
                  BUFFALO, NY 14267
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                  Charles River Biopharma GmbH
                  Max-Planck-Str. 15A
                  40699 Erkrath
                  GERMANY

                  CIT
                  21146 Network Place
                  Chicago, IL 60673-1211

                  CIT
                  1021 Centurion Pkwy N
                  Suite 100
                  Attn: Bankruptcy Management
                  Jacksonville, FL 32256

                  City of Boston
                  Tax Collector
                  1 City Hall Plaza
                  Boston, MA 02201

                  CMC Biologics A/S
                  Vantaarnsvej 83B
                  DK-2860 Soeborg
                  Copenhagen
                  DENMARK

                  Comcast
                  PO BOX 1577
                  NEWARK, NJ 07101-1577

                  COMCAST BUSINESS
                  PO BOX 37601
                  PHILADELPHIA, PA 19101-0601

                  COMPUTERSHARE Shareholders Svcs
                  DEPT CH 19228
                  PALATINE, IL 60055-9228

                  Concur Technologies, Inc.
                  62157 Collections Center Drive
                  Chicago, IL 60693

                  CPT ONE EXETER PLAZA, LLC
                  c/o AEW Capital Management, L.P.
                  Two Seaport Lane, World Trade Center Eas
                  Attention: Asset Manager for CPT One Exe
                  Boston, MA 02210

                  CRYOPORT
                  PO BOX 205955
                  DALLAS, TX 75320-5955
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                  Cushman & Wakefield of MA, Inc.
                  125 Summer Street
                  Attn: Property Manager for CPT One Exete
                  Boston, MA 02210

                  Delaware Franchise Tax
                  State of Delaware
                  Binghamton, NY 13902-5509

                  DELOITTE TAX LLP
                  PO BOX 844736
                  DALLAS, TX 75284-4736

                  DiBiase, Mary
                  28 Boulder Brook Road
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                  Yalelaan 46
                  3584 CM Utrecht
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                  Ernst & Young LLP
                  Pittsbg Ntnl Bnk - Pitt 640382
                  Pittsburgh, PA 15264-0382

                  Evaluate Ltd.
                  11-29 Fashion Street
                  London E1 6PX
                  UNITED KINGDOM

                  EVERSOURCE
                  PO BOX 660369
                  DALLAS, TX 75266-0369

                  Evicom Limited
                  The Old Sail Loft
                  Eel Pie Island, Twickenham
                  Middlesex TW1 3DY
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                  Federal Revenue of Brazil
                  R. Coronel Antonio Botelho de Sousa 31
                  Maranguape - CE 61940-005
                  BRAZIL

                  FEDEX
                  PO BOX 371461
                  PITTSBURGH, PA 15250-7461

                  FLEISHMANHILLARD INC
                  PO BOX 771733
                  ST LOUIS, MO 63177
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                  Fujifilm Diosynth Biotechnoligies
                  Belasis Avenue
                  Billingham, TZ23 1LH
                  General Counsel
                  UNITED KINGDOM

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                  Morrisville, NC 27560

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                  Dept CH 16878
                  Palatine, IL 60055-6878

                  Fujifilm Holdings America Corporation
                  200 Summit Lake Drive
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                  Valhalla, NY 10595-1356

                  Genefar B.V.
                  The Management Board
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                  1422 DZ Uithoorn
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                  Global Conferencing Solutions LLC
                  P.O. Box 712524
                  Salt Lake City, UT 84171-2524

                  Greenberg Traurig, LLC
                  The MetLife Building
                  200 Park Avenue
                  Attention: Anthony J. Marsico, Esq.
                  New York, NY 10166

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                  411 US ROUTE ONE
                  FALMOUTH, ME 04105

                  Haim Zaltzman
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                  Hercules Technology Growth Capital, Inc.
                  Legal Department Attn: Chief Legal Offic
                  and Mr. Bryan Jadot
                  400 Hamilton Avenue, Suite 310
                  Palo Alto, CA 94301
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                  HM Revenue and Customs
                  Benton Park View
                  Newcastle Upon Tyne
                  NE98 1ZZ
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                  JFK Building - Stop 20800
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                  Wellesley, MA 02116

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                  CHICAGO, IL 60606-6402

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                  Assistance
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                  5th Floor
                  Boston, MA 02114-2589

                  Massachusetts DOR
                  Bankruptcy Unit
                  P.O. Box 9564
                  Boston, MA 02114-9564

                  Masy BioServices
                  P.O. Box 485
                  Pepperell, MA 01463
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                  Joaquim Eugenio de Lima
                  447 - S o Paulo SP
                  01403-001
                  BRAZIL

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                  Westford, MA 01886

                  Mintz,Levin,Cohn,Ferris,
                  Glovsky and Popeo, P.C
                  One Financial Center
                  Boston, MA 02111

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                  1201 North Market Street
                  WILMINGTON, DE 19899-1347

                  Myoderm
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                  Norristown, PA 19401

                  Nasdaq Stock Market
                  LBX #20200
                  Philadelphia,, PA 19178-0200

                  National Premier Partners, Inc.
                  44 Mechanic Street
                  Newton, MA 02464

                  Northern Business Machines
                  24 Terry Avenue
                  Burlington, MA 01803

                  Nothern Business Machines
                  24 Terry Avenue
                  Burlington, MA 01803

                  NY State Dept of Taxation & Finance
                  Bankruptcy Unit
                  P.O. Box 5300
                  Albany, NY 12205-0300

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                  P.O. BOX 5070
                  KINGSTON, NY 12402-5070

                  NYS DEPT. OF LABOR - U.I. DIVISON
                  W.A. HARRIMAN STATE CAMPUS
                  ALBANY, NY 12240-0415

                  Patel, Suman
                  177 Rosemont Drive
                  North Andover, MA 01845
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                  PO BOX 371874
                  PITTSBURGH, PA 15250-7874

                  Pitney Bowes
                  225 American Drive
                  Neenah, WI 54956-1005

                  QUENCH USA INC
                  PO BOX 8500
                  PHILADELPHIA, PA 19178-3203

                  Reliance Life Sciences Pvt. Ltd.
                  Dhirubhai Ambani Life Sciences Centre
                  Thane-Belapur Road, Rabale
                  Navi Mumbai-400 70I Attention: K.V. Subr
                  INDIA

                  RSM US LLP
                  5155 Paysphere Circle
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                  Scribner, Susan
                  319 Park Street
                  North Reading, MA 01864

                  Shea, Thomas
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                  Medway, MA 02053

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                  Dept BOS
                  Boston, MA 02241-5256

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                  3003 Berne
                  SWITZERLAND

                  Swiss Federal Tax Administration
                  Main Division Value Added Tax
                  Schwarztorstrasse 50
                  3003 Berne
                  SWITZERLAND

                  Swiss Pharma International AG
                  Waldmannstrasse 8
                  8001 Zurich
                  Attention: General Counsel
                  SWITZERLAND

                  Taro Pharmaceuticals USA Inc.
                  3 Skyline Drive
                  Attention: General Counsel
                  Hawthorne, NY 10532
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                  Kloosterweg 22
                  PO Box 2865
                  6401 DJ Heerlen
                  THE NETHERLANDS

                  THRIVE NETWORKS INC.
                  495 BUSINESS CENTER, BLDG 300
                  TEWKSBURY, MA 01876

                  Ticktin, Robert
                  37 Marshall Rd
                  Wellesley, MA 02482

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                  PO Box 406990
                  Atlanta, GA 30384-6990

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                 Case 16-12828                    Doc 1          Filed 07/25/16 Entered 07/25/16 10:59:35              Desc Main
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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Epirus Biopharmaceuticals, Inc.                                                             Case No.
                                                                                 Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the SVP, General Counsel & Corporate Secretary of the corporation named as the debtor in this case, hereby verify that the attached

list of creditors is true and correct to the best of my knowledge.




 Date:       July 25, 2016                                            /s/ Robert Ticktin
                                                                      Robert Ticktin/SVP, General Counsel & Corporate Secretary
                                                                      Signer/Title




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